                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                         CRIMINAL NO. 5:08CR10-7-V

UNITED STATES OF AMERICA                 )
                                         )
                                         )
vs.                                      )            ORDER
                                         )
                                         )
CARLOS MANUEL-DUARTE,                    )
                                         )
              Defendant.                 )
                                         )

        THIS MATTER is before the Court on Defendant’s Motion for Reconsideration of the

Detention Order pursuant to 18 U.S.C. § 3145(b), filed March 28, 2008. Document #57.

Defendant had his initial appearance and detention hearing on January 31, 2008 before

United States Magistrate Judge Carl Horn.1 At the conclusion of that hearing, Magistrate

Judge Horn ordered the Defendant detained pursuant to 18 U.S.C. § 3142.2 Document

#4.3




        1
      The Court notes that the Defendant refers to his detention
hearing as having occurred on February 12, 2008. Def. Mt. 1.
However, Defendant was detained pursuant to a detention order
issued by Magistrate Judge Horn on January 31, 2008. Document
#4. The hearing on February 12, 2008, before Magistrate Judge
David Keesler, was to determine probable cause.
        2
      As the Government argues in its response, Magistrate Judge
Horn notes in his detention order that the Immigrations and
Customs Enforcement (ICE) agency has lodged an immigration
detainer against the Defendant. The detainer, however, does not
affect the Court’s review of the order of detention.
        3
      Magistrate Judge Horn found that the Defendant did not
rebut the statutory presumption for detention that arises under
the offense charged.

                                             1

       Case 5:08-cr-00010-RLV-CH      Document 66     Filed 04/15/08   Page 1 of 5
      This Court reviews de novo the Magistrate Judge's detention order. See 18 U.S.C.

§3145(b); United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has

reviewed the electronic recordings of all hearings, as well as the contents of the criminal

file in this matter. Defendant is charged with violations of 21 U.S.C. §§846 and 841(a)(1),

namely conspiracy to distribute cocaine and methamphetamine. Since the Government

initially charged the Defendant by criminal complaint, the Defendant had a probable cause

hearing before Magistrate Judge David Keesler on February 12, 2008. At the conclusion

of that hearing, Magistrate Judge Keesler found probable cause that Defendant committed

the offense alleged. On February 27, 2008, a federal grand jury in this District similarly

found probable cause that the Defendant had committed this offense and it returned a bill

of indictment against the Defendant. See Document #21. As Magistrate Judge Horn found

in his detention order, since a maximum term of imprisonment of ten years or more is

prescribed in the Controlled Substances Act, a rebuttable presumption arises that no

condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of the community. See 18 U.S.C. §3142(e). Defendant now

contends that the presumption is rebutted in this case.4

      In determining whether there are conditions of release that will reasonably assure

the appearance of Defendant and the safety of other persons and the community, the

Court considers all evidence regarding:


       4
      Defendant also alleges that, contrary to the findings of
Magistrate Judge Keesler and the grand jury, “the defendant is
being held without the necessary and requisite probable cause.”
Def. Mt. 2. While the Defendant may properly appeal an order of
detention under 18 U.S.C. § 3145(b), the Defendant may not
challenge the adequacy of the evidence that formed the basis of
the indictment returned by the grand jury. See Costello v.
United States, 350 U.S. 359 (1956).

                                            2

     Case 5:08-cr-00010-RLV-CH        Document 66      Filed 04/15/08    Page 2 of 5
       (1)    the nature and circumstances of the offense charged (including whether the
              offense if a crime of violence or involves a narcotic drug);
       (2)    the weight of the evidence against the person;
       (3)    the history and characteristics of the person, including —
                     (A) the person’s character, physical and mental condition, family ties,
                     employment, financial resources, length of residence in the
                     community, community ties, past conduct, history relating to drug or
                     alcohol abuse, criminal history, and record concerning appearances
                     at court proceedings; and
                     (B) whether, at the time of the current offense or arrest, the person
                     was on probation, on parole, or on other release pending trial,
                     sentencing, appeal, or completion of sentence for an offense under
                     Federal, State, or local law; and
       (4)    the nature and seriousness of the danger to any person or the community
              that would be posed by the person's release . . . .

18 U.S.C. §3142(g).

       Upon review of these factors, the Court concurs with the Magistrate Judge’s finding

that bond is not appropriate at this time. The indictment in this case alleges a drug

conspiracy involving in excess of 5 kilograms of cocaine and in excess of 500 grams of

methamphetamine. The Government alleges that a substantial amount of controlled

substances, including up to twenty-five (25) pounds of methamphetamine, may be

attributable to the Defendant. The substantial quantity of controlled substances alleged

in this case exposes the Defendant to a grave penalty, and thus the risk of flight is great.

       To mitigate this risk, the Defendant argues that he has strong ties to the community,

and especially to his family in Winston-Salem. The Defendant also argues that he is

gainfully employed by a construction company. However, the Defendant resides in this

country as an illegal alien. Although the Defendant points to consistent employment, that

employment is illegal and thus lacks the hallmark of permanency.5 The immigration status

       5
      The Government notes that the pretrial report prepared by
the U.S. Probation office indicates that the Defendant has no
employment history and, because of his residency status, no
social security number. Govt. Resp. 3.

                                             3

     Case 5:08-cr-00010-RLV-CH       Document 66      Filed 04/15/08   Page 3 of 5
of Defendant renders his ties to the community tenuous, and thus he remains a risk for

flight.

          The Court must also examine the danger to any person or the community that would

be posed by the Defendant's release. The Government indicates that the pretrial report

refers to several arrests, including arrests for felony drug possession and for carrying a

concealed weapon. Although these arrests are not convictions, the Court will consider

them as relevant past conduct. These arrests demonstrate a penchant for involvement

with drugs and a potential for violence. Given this past conduct and the large scale of the

drug conspiracy in which he is alleged to have been involved, the Court finds there is a

serious risk that Defendant’s criminal behavior would continue if he were released.

Further, the Court is unable to find that house arrest would deter Defendant from engaging

in further criminal activity.

          Although the incriminating evidence against the Defendant may be circumstantial,

the serious nature of the crimes alleged, the Defendant’s tenuous ties to the community

as an illegal alien, and the past conduct of the Defendant all militate against pretrial

release. Taking all of the factors into consideration, the Court finds that no condition or

combination of conditions of bond will reasonably assure the appearance of Defendant and

the safety of other persons and the community.

          IT IS, THEREFORE, ORDERED that Defendant’s Motion to Reconsider Bond is

hereby DENIED. The Clerk shall certify copies of this Order to Defense Counsel, the

United States Attorney, the United States Marshal, and the United States Probation Office.




                                              4

      Case 5:08-cr-00010-RLV-CH Document 66 Filed 04/15/08 Page 4 of 5
                                 Signed: April 15, 2008




                                5

Case 5:08-cr-00010-RLV-CH   Document 66     Filed 04/15/08   Page 5 of 5
